  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 1 of 21




           IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
      v.                           )           Criminal Action NO.
                                   )              2:94cr62-MHT
                                   )                   (WO)
FRANK SOWERS                       )

                         OPINION AND ORDER

      Pending before the court is defendant Frank Sowers’s

self-styled motion for relief from judgment pursuant to

Fed.R.Civ.P.     60(b)    and(d),      by     which   he   purports      to

challenge judgments of this court entered on October 20,

2003, and August 9, 2007.1



                         I.      BACKGROUND

      Sowers was convicted in this court in November 1994

for   conspiracy    to   possess       with    intent   to   distribute

cocaine, in violation of 21 U.S.C. § 846 (Count 1 of the



    1. The instant motion (Doc. No. 2016) was filed on
or around February 19, 2010. On or around March 19, 2010
(Doc. No. 2018), Sowers filed an “Amended Memorandum of
Law” in support of the motion.
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 2 of 21




indictment), and three counts of possession with intent

to distribute cocaine, in violation of 21 U.S.C. § 841

(Counts 5, 8, and 14).            He was sentenced to a term of

imprisonment of 360 months on Count 1 and to concurrent

terms   of   240   months    on    the    remaining    counts.       The

Eleventh Circuit Court of Appeals upheld his convictions

and sentence, United States v. Morrow, 156 F.3d 185 (11th

Cir. 1998) (table), and the United States Supreme Court

denied certiorari review.          Sowers v. United States, 526

U.S. 1009 (1999).



                     A.      § 2255 Motion I

    On September 17, 1999, Sowers filed a motion under 28

U.S.C. § 2255 challenging his convictions and sentences.

Case No. 2:94cr62 - Doc. No. 1301.            He supplemented that

motion on October 19, 1999.              Id. - Doc. No. 1576.        The

§ 2255 motion, as supplemented, sought relief based on

allegations of ineffective assistance of counsel.                        On

June 18, 2003, an evidentiary hearing, where Sowers was



                                   2
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 3 of 21




represented by court-appointed counsel, was held on the

allegations     of    ineffective        assistance      of    counsel

presented in Sowers’s § 2255 motion.              On July 17, 2003,

the magistrate judge analyzed each of Sowers’s claims and

recommended that his § 2255 motion be denied.               Id. - Doc.

No. 1673.     On October 20, 2003, this court adopted the

recommendation of the magistrate judge and denyed the

§ 2255 motion (hereinafter referred to as “§ 2255 Motion

I”).    Id. - Doc. No. 1731.



                     B.      § 2255 Motion II

       On August 31, 2004, Sowers filed a motion, styled as

a motion to vacate judgment pursuant to Fed.R.Civ.P.

60(b)(5) and (6) and asking this court to vacate its

October 2003 judgment denying his § 2255 Motion I.                Civil

Action No. 2:04cv828 - Doc. No. 1.           He asserted that such

relief was warranted under Blakely v. Washington, 542

U.S. 296 (2004), which he claimed established that his

convictions and sentence were constitutionally invalid.



                                   3
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 4 of 21




On November 5, 2004, the magistrate judge found that

Sowers’s nominal “Rule 60(b) motion” was a successive

§ 2255 motion by which Sowers was actually challenging

his 1994 convictions and sentence and not the October

2003 judgment denying his § 2255 Motion I.                 Id. - Doc.

No. 2.   Because Sowers had not obtained pre-certification

from the Eleventh Circuit to file a successive § 2255

motion, the magistrate judge recommended that his motion

be summarily dismissed.2         Id.   On December 8, 2004, this

court adopted the recommendation of the magistrate judge




    2. The Antiterrorism and Effective Death Penalty Act
provides that, to file a second or successive § 2255
motion in the district court, a petitioner must first
move in the appropriate court of appeals for an order
authorizing the district court to consider the motion.
28 U.S.C. § 2244(b)(3)(A). The appellate court, in turn,
must certify that the second or successive § 2255 motion
contains “(1) newly discovered evidence that, if proven
and viewed in light of the evidence as a whole, would be
sufficient to establish by clear and convincing evidence
that no reasonable factfinder would have found the movant
guilty of the offense; or (2) a new rule of
constitutional law, made retroactive to cases on
collateral review by the Supreme Court, that was
previously unavailable.” 28 U.S.C. § 2255(h).

                                   4
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 5 of 21




and denied the § 2255 motion (hereinafter referred to as

“§ 2255 Motion II”).             Id. - Doc. No. 5.



                        C.      § 2255 Motion III

    On June 7, 2007, Sowers filed a pleading styled as a

motion for relief from judgment pursuant to Fed.R.Civ.P.

60(b), again asking this court to vacate its October

2003 judgment denying his § 2255 Motion I, this time

based   on    the       alleged       ineffective      assistance       of   the

counsel      who       represented      him   during     the   evidentiary

hearing on § 2255 Motion I.              Case No. 2:94cr62 - Doc. No.

1900.   Again, the magistrate judge found Sowers’s nominal

Rule 60(b) motion to be a successive § 2255 motion by

which   he    was       actually       seeking    to    reargue     a    claim

challenging his 1994 convictions and sentence.3                          Id. -

Doc. No. 1904.            Because Sowers had not obtained pre-

certification           from    the    Eleventh     Circuit    to       file   a

successive         §     2255     motion,     the       magistrate       judge


    3. See Gonzalez v. Crosby, 545 U.S. 524, 532 n.5
(2005).

                                         5
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 6 of 21




recommended that the motion, like his § 2255 Motion II,

be summarily dismissed.           Id.       On August 9, 2007, the this

courte entered a judgment adopting the recommendation of

the   magistrate    judge        and    denying        the     §    2255   motion

(hereinafter referred to as “§ 2255 Motion III”).                           Id. -

Doc. No. 1908.



                         II.           DISCUSSION

      In   his   instant    motion          for     relief     from    judgment

pursuant to Fed.R.Civ.P. 60(b) and (d) (Doc. No. 2016),

Sowers contends that this court, in its judgments of

October    20,   2003,     and    August          9,   2007,       neglected   to

adjudicate a claim, which he says he presented in both

the § 2255 Motion I and the § 2255 Motion III: that his

trial counsel rendered ineffective assistance of counsel

by telling him that the government had withdrawn a plea

offer for a sentence of five years’ imprisonment when the

plea offer had not in fact been withdrawn.                          Id. at 5-9.

Sowers     maintains     that     his       trial      counsel’s      erroneous



                                        6
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 7 of 21




advice   prevented      him    from    making     an   informed       and

voluntary    choice    when    deciding     to   proceed     to    trial

instead of pleading guilty.              Id. at 6.         He further

contends that this court’s failure to address this claim

when ruling on his § 2255 Motion I and his § 2255 Motion

III constitutes a “fundamental defect” in the proceedings

on those motions, justifying relief now under Rule 60(b).4

Id. at 8.    He further argues that a “fraud was committed

on the court” during the proceedings on his § 2255 Motion

I, entitling him to relief under Rules 60(b)(3) and

60(d),5 when his former trial counsel testified falsely at


    4. Federal Rule of Civil Procedure 60(b) permits a
litigant to move for relief from an otherwise final
judgment in a civil case for a number of reasons,
including “fraud (whether previously called intrinsic or
extrinsic), misrepresentation, or misconduct by an
opposing party.”    Rule 60(b) provides, in sum, the
following   six  bases   for   relief:     (1)   mistake,
inadvertence, surprise, or excusable neglect; (2) newly
discovered evidence; (3) fraud; (4) the judgment is void;
(5) the judgment has been satisfied, released, or
discharged; or (6) any other reason justifying relief
from the operation of the judgment.
    5. Rule 60 was restructured effective December 1,
2007, to provide at 60(d)(3) that, “[t]his rule does not
                                                              (continued...)

                                   7
    Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 8 of 21




the evidentiary hearing on his § 2255 Motion I that,

after Sowers rejected the government’s plea offer of five

years’ imprisonment, the government withdrew the offer

and “replaced it” with a less favorable offer of a 12-

year sentence.        Id. at 10-13.        Sowers maintains that the

government also knowingly participated in the alleged

fraud on the court by acquiescing in the presentation of

false testimony from his former trial counsel.                     Id. at

11-12.

       First,    to   the   extent       Sowers   seeks   relief    under

Fed.R.Civ.P. 60(b), the court finds that his motion is

untimely, as it was filed more than five years after

entry of the October 2003 judgment denying the § 2255

Motion I and more than two years after entry of the June

2007 judgment denying the § 2255 Motion II.                          Rule

60(c)(1) provides that a motion under Rule 60(b) must be

filed “within a reasonable time” and, for reasons (1),


(...continued)
limit a court’s power to set aside a judgment for fraud
on the court.”    Previously, such claims were brought
under 60(b).

                                     8
     Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 9 of 21




(2), and (3) in Rule 60(b), no more than a year after the

entry     of     the   judgment     or    order      or    the    date    of   the

proceeding being challenged.                 Fed.R.Civ.P. 60(c)(1); see

also, e.g., Ferguson v. United States, No. 09-11723, 2010

WL    2428833      (11th     Cir.   Jun.       16,   2010)       (unpublished).

Sowers does not assert any reason justifying the lengthy

delay in the filing of his instant motion, and, under the

circumstances, this court concludes that the motion was

not filed within a reasonable time.

       Even if Sowers’s attempt to seek relief under Rule

60(b)       is     deemed      timely,         it     is      nonmeritorious.

Notwithstanding Sowers’s present allegations, this court

has     thoroughly        reviewed       the    §     2255    Motion      I,   as

supplemented,          and    the   §    2255        Motion      III6    and   has

determined that nowhere in these pleadings did Sowers

assert      a     claim      that    his       trial       counsel       rendered

ineffective assistance by telling him, erroneously, that



    6. Sowers does not raise any claims in his instant
motion with regard to his § 2255 Motion II or this
court’s rulings denying that motion.

                                         9
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 10 of 21




the government had withdrawn its plea offer of five

years’ imprisonment and replaced it with an offer of 12

years in prison, and nowhere in these pleadings did he

assert    a    claim    that    his       trial     counsel’s          allegedly

erroneous      advice    that       the    five-year         offer     had     been

withdrawn      prevented      him    from    making          an    informed     and

voluntary      choice    when       deciding       to    proceed       to     trial

instead of pleading guilty.                  In the § 2255 Motion I,

Sowers    presented      claims       that    his       trial       counsel     was

ineffective for:         (1) improperly advising him that his

maximum sentencing exposure, should he be convicted by a

jury, was 12 years in prison; (2) failing to counsel him

properly       about    the     advisability            of        accepting     the

government’s plea offer of five years in prison; (3)

failing       to   inform     him     that     a        government       witness

instrumental in connecting him to his codefendants would

testify       at   trial;     and    (4)     failing          to     follow    his

instructions to raise due-process and equal-protection

claims based on selective prosecution.                             See Case No.



                                      10
     Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 11 of 21




2:94cr62 - Doc. Nos. 1301 and 1576.                  In addition, Sowers

claimed      that    the    cumulative      effect    of   his   counsel’s

errors amounted to ineffective assistance of counsel.

Id.      In denying Sowers’s § 2255 Motion I, this court

addressed each of these claims and found each to lack

merit.      Id. - Doc. Nos. 1673 and 1731.

       In the § 2255 Motion III, Sowers claimed that the

court-appointed attorney who represented him during the

evidentiary hearing on his § 2255 Motion I rendered

ineffective assistance of counsel in those proceedings by

failing      to   obtain     the    testimony    of    the   former    U.S.

Attorney who prosecuted his case in 1994.                    See Case No.

2:94cr62 - Doc. No. 1900.                  According to Sowers, such

testimony would have provided material support for his

claim in his § 2255 Motion I that his former trial

counsel improperly advised him about the maximum sentence

he     could      receive    upon     conviction       and   would     have

influenced this court to make credibility determinations

in his favor (rather than in favor of his former trial



                                      11
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 12 of 21




counsel).       Id.    This court denied the § 2255 Motion III,

finding   that        Sowers    did   not   have   a   constitutionally

protected right to counsel in the proceedings on the

§ 2255 Motion I; that the alleged errors of Sowers’s

counsel in the proceedings on § 2255 Motion I did not go

to the integrity of those proceedings; and that Sowers’s

claim concerning the allegedly deficient performance of

his counsel in those proceedings was nothing more than an

attempt   by     Sowers    to    present      additional   evidence       in

support of the claims he asserted in the § 2255 Motion I,

making    his    nominal       Rule   60(b)    motion    the    practical

equivalent of a successive § 2255 motion.                      Id. - Doc.

Nos. 1904 and 1908.             For the reasons set forth above,

then, there is no merit to Sowers’s present contention

that this court neglected to adjudicate a claim for

relief presented in his § 2255 Motion I and his § 2255

Motion III.

    Furthermore, even if such a claim could be read into

any of the allegations set forth by Sowers in the prior



                                      12
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 13 of 21




§ 2255 motions, this court has already made findings of

fact that reject Sowers’s present assertion that the

prosecutor in his case did not withdraw the offer of a

five-year    sentence.         In   the    recommendation       of   the

magistrate judge that the § 2255 Motion I be denied

(which was later adopted by the court), the magistrate

judge made the following relevant findings of fact based

on testimony presented at the evidentiary hearing on the

§ 2255 Motion I:

    “The court finds that at the outset of the
    criminal case counsel secured for the defendant
    an extremely favorable plea offer and fully
    apprised the defendant of the advisability of
    accepting the offer.    The offer was that in
    exchange for the defendant’s plea of guilty to
    the conspiracy count and truthful testimony
    about every connection he had with the other
    defendants, Sowers would receive a maximum of
    five years’ imprisonment with the possibility of
    the government seeking a downward departure
    pursuant to U.S.S.G. 5Kl.l.       The defendant
    rejected this because he insisted he was not
    guilty of conspiracy.

    “Some time after counsel’s initial attempt to
    persuade Sowers to accept a plea bargain,
    counsel   learned  that   one   of  the    other
    conspirators had agreed to a plea bargain.



                                    13
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 14 of 21




          ‘I went back to Mr. Teschner [the
          prosecutor]. At that point in time Mr.
          Teschner was not terribly interested in
          Mr. Sowers entering into a five-year
          plea agreement with him testifying, and
          he said that if [didn’t] want to
          testify, which is what Mr. Sowers told
          me, that he did not want to testify,
          based on the two controlled buys, his
          past record, that under the Sentencing
          Guidelines if he entered a plea prior to
          trial it would be a twelve-year sentence
          and that Mr. Teschner’s agreement was
          that he would go only with the amount of
          cocaine that would have made up that
          twelve-year sentence.’

    “(Evidentiary Hr'g Tr. at 30.)

    “Counsel presented this offer to Sowers and
    recommended that he accept it. Sowers rejected
    this offer based on his belief that the
    government would be unable to tie him to the
    amount of cocaine which would support the
    twelve-year sentence.”

Case No. 2:94cr62 - Doc. No 1673 at 11-12.

    Thus, Sowers’s current assertion that the prosecutor

in his case did not withdraw the plea offer of five

years’ imprisonment--and that his former trial counsel

was ineffective for telling him that this offer had been

withdrawn--is contrary to the magistrate judge’s findings



                                   14
     Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 15 of 21




of     fact.      Sowers    cannot     use   his    instant    motion        to

relitigate        an   issue    already      litigated,     and    decided

adversely to him, in the proceedings on his § 2255 Motion

I.      His claim that the five-year plea offer was not

withdrawn by the government has already effectively been

rejected.         Consequently, he fails to demonstrate any

“fundamental defect” in the proceedings on his § 2255

Motion I or his § 2255 Motion III to warrant relief under

Rule 60(b).

       Nor has Sowers demonstrated that, for purposes of

Rule 60(d), a “fraud was committed on the court” when his

former trial counsel testified at the evidentiary hearing

on the § 2255 Motion I that the government withdrew the

offer of five years’ imprisonment after Sowers rejected

the government’s plea offer.7                  With this allegation,

Sowers is seeking to have the court revisit a credibility



    7. Under    Rule   60(d),  no   limitations  period
diminishes “a court’s power to (1) entertain an
independent action to relieve a party from a judgment,
order, or proceeding; [or] ... (3) set aside a judgment
for fraud on the court.” Fed.R.Civ.P. 60(d)

                                      15
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 16 of 21




determination that has already been made.8                In claiming

that the government did not withdraw the five-year offer,

Sowers points to affidavits he obtained from the former

prosecutor in his case (which were attached to the § 2255

Motion III), in which the former prosecutor avers, in

response     to   questions      that    a   private     investigator

propounded to him on behalf of Sowers, that he does not

recall changing the five-year plea offer to 12 years and

that it was not his practice to “change offers in that

way.”9     Case No. 2:94cr62 - Doc. Nos 1901-12 and 1901-13.

However, in these same affidavits, the former prosecutor

also avers, in response to a question as to whether the

five-year deal was “good until one week before trial” (as



    8. In the recommendation that the § 2255 Motion I be
denied, the magistrate judge found that Sowers’s
testimony at the evidentiary hearing on the motion was
full of obvious internal inconsistences; was contradicted
by evidence presented at trial; and was not worthy of
belief. Case No. 2:94cr62 - Doc. No 1673.

    9. The court notes that these affidavits were
apparently obtained in June 2006 and February 2007, more
than a decade after the former prosecutor dealt with
Sowers’s case.

                                   16
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 17 of 21




Sowers’s trial counsel testified at the hearing on § 2255

Motion I), “I do not remember exactly, but that would

have been the type of offer I would have made.”                Doc. No.

1901-12 at 2.        Thus, the former prosecutor’s answers are

ultimately inconclusive on the question of whether the

five-year deal was withdrawn in Sowers’s case; do not

demonstrate the falsity of the testimony of Sowers’s

trial counsel; and arguably even support trial counsel’s

testimony that the five-year deal was no longer on the

table    when   Sowers    chose    to   proceed     to   trial.      The

statements by the former prosecutor in the affidavits

fall far short of establishing commission of a fraud on

the     court   by     Sowers’s     trial    counsel--or       by    the

government.     Because Sowers fails to demonstrate that his

former trial counsel testified untruthfully or that the

government knowingly acquiesced in the presentation of

false testimony, he is not entitled to any relief under

Rule 60(d).




                                   17
     Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 18 of 21




       This court would also point out that Sowers’s present

claim that his trial counsel told him that the government

withdrew the five-year deal before he proceeded to trial

is     wholly     contrary      to    Sowers’s      testimony      at   the

evidentiary hearing on the § 2255 Motion I, where Sowers

testified that his trial counsel did not tell him that

the five-year deal was withdrawn and maintained that

trial counsel’s only reference to a potential 12-year

sentence was with regard to the sentence he could receive

if he proceeded to trial and was convicted.                      Case No.

2:94cr62 - Doc. No. 1901-7 at 4 (Evidentiary Hr’g Tr. at

10-11),       6   (Evidentiary       Hr’g    Tr.   at   20-21),     and      7

(Evidentiary Hr’g Tr. at 22).               Sowers’s changing story on

this matter only serves to highlight the fact that he,

through his instant motion, is attempting to advance a

new      claim    that,    at    bottom,      is   an   attack     on   his

convictions and sentence rather than some real infirmity

in the proceedings on his previous § 2255 motions.                      Once




                                      18
     Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 19 of 21




again, therefore, Sowers has filed what amounts to a

successive § 2255 motion.

       When a pro se petitioner brings a motion under Rule

60, the district court may appropriately construe it as a

§    2255    motion,     and,    if    applicable,     treat    it   as      an

unauthorized second or successive motion.                      Williams v.

Chatman, 510 F.3d 1290, 1293-95 (11th Cir. 2007).                            If

construed as a second or successive motion, the district

court lacks subject-matter jurisdiction. Id. at 1295. In

Gonzalez v. Crosby, 545 U.S. 524 531-32 (2005), the

Supreme Court provided guidance as to how prisoner claims

under Rule 60 should be construed.10                If the motion seeks

to     add   a   new   ground    for    relief    from   the    underlying



    10. Gonzalez addressed this issue in the context of
a 28 U.S.C. § 2254 petition for habeas-corpus relief.
However, the Eleventh Circuit recognizes that “the
principles developed in habeas cases also apply to § 2255
motions.” Gay v. United States, 816 F.2d 614, 616 n.1
(11th Cir. 1987).    Moreover, the Eleventh Circuit has
stated that the holding and rationale of Gonzalez apply
equally to § 2255 and § 2254 habeas proceedings. El-Amin
v. United States, No. 05-1276, 172 Fed.Appx. 942 (11th
Cir. Mar. 28, 2006); United States v. Terrell, No. 02-
14997, 141 Fed.Appx. 849 (11th Cir. Jul. 19, 2005).

                                       19
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 20 of 21




judgment of conviction or sentence, or otherwise attacks

the district court’s resolution of any original § 2255

claims on the merits, then the court should construe the

Rule 60 action as a second or successive § 2255 motion and

dismiss it accordingly.11 Id.; see also Williams, 510 F.3d

at 1293-94.

       As noted above, Sowers attempts to advance a new claim

that    actually    attacks     his     convictions    and    sentence.

Because Sowers has not obtained pre-certification from the

Eleventh Circuit to file a successive § 2255 motion, the

instant motion (Sowers’s fourth § 2255 motion) is due to

be summarily dismissed.            See, e.g., Farris v. United

States, 333 F.3d 1211, 1216 (11th Cir. 2003); Boone v.




    11. By contrast, “when a Rule 60(b) motion attacks,
not the substance of the federal court’s resolution of a
claim on the merits, but some defect in the integrity of
the federal habeas proceedings,” courts should not treat
the Rule 60 action as a successive § 2255 motion.
Gonzalez, 545 U.S. at 532-33; see also Williams, 510 F.3d
at 1294. Such actions can be ruled on by the district
court without the pre-certification from the court of
appeals that is ordinarily required for a second or
successive § 2255 motion. Gonzalez, 545 U.S. at 538.

                                   20
  Case 2:94-cr-00062-MHT-SRW Document 2039 Filed 07/24/12 Page 21 of 21




Secretary, Dept. of Corrections, 377 F.3d 1315, 1317 (11th

Cir. 2004).

                                  ***

    Accordingly, and for good cause, it is ORDERED that

defendant Frank Sowers’s motion for relief from judgment

(Doc. No. 2016) is denied.

    DONE this 24th day of July, 2012.



                           /s/ Myron H. Thompson
                        UNITED STATES DISTRICT JUDGE
